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 IT IS ORDERED as set forth below:



 Date: September 21, 2020
                                                    ________________________________
                                                                Paul Baisier
                                                        U.S. Bankruptcy Court Judge

 _______________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION
In re:                                      :
                                            :   CASE NO. 20-63562-PMB
TRACY DENNIS,                               :
                                            :   CHAPTER 7
             Debtor.                        :
                                            :
                                            :
S. GREGORY HAYS.,                           :
Chapter 7 Trustee for The Estate of         :
Tracy Dennis,                               :
                                            :
              Plaintiff,                    :
                                            :   ADVERSARY PROCEEDING
v.                                          :
                                            :   NO. 20-6079
UNITED COMMUNITY BANK,                      :
                                            :
              Defendant.                    :
                                            :

                  ORDER AND NOTICE OF RULE 26(f) CONFERENCE

            IT IS ORDERED and NOTICE IS HEREBY GIVEN that the parties shall confer
pursuant to FED R. CIV. P. 26(f) and Bankruptcy Local Rule 7016-1 and shall file with the Court
on or before October 21, 2020, a written report that sets forth the following information:


       1. Initial Disclosures. (Include one or more of the following, modified as appropriate).

       [ ] The parties have made the initial disclosures required by FED R. CIV. P. 26(a)(1).
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        [ ] The parties agree to exchange written and verified initial disclosures.

        [ ] The parties have agreed not to make initial disclosures and to waive the
        requirements of FED R. CIV. P. 26(a)(1) with regard to same.


        2. Discovery Plan. The parties jointly propose to the Court that discovery shall be
completed by                            , subject to modification by the Court with the consent
of the parties or for good cause shown.


        3. Other items.

        (a) The parties shall submit a consolidated pretrial order no later than
            . See Bankruptcy Local Rule 7016-2.

       (b) Unless further ordered by the Court, Plaintiff will be allowed until _
           to file motions to join additional parties and until      to file motions to amend the
pleadings.

      (c) Unless further ordered by the Court, Defendant(s) will be allowed until
_______________ to file motions to join additional parties and until
                 to file motions to amend the pleadings.

        (d) All dispositive motions, including Motions for Summary Judgment, will be filed by
                  .


        4. Settlement Potential.

        (a) The parties [ ] have [ ] have not discussed settlement.

       (b) The parties [ ] do [ ] do not intend to hold additional settlement conferences among
themselves prior to the close of discovery. The proposed date of the next settlement conference
is             .

        (c) The parties [ ] have [ ] have not considered alternative dispute resolution.

        (d) Settlement prospects may be enhanced by one of the following alternative dispute
resolution procedures [check applicable boxes]: [ ] Mediation; [ ] Judicial settlement conference;
[ ] Early neutral evaluation; [ ] Other.


       5. Identify any other matters regarding this Court’s authority or jurisdiction, discovery or
 case management that may require the Court’s attention (e.g., concerns about confidentiality; the
 need for protective orders; unmovable scheduling conflicts).

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       6. Do the parties consent to this Court entering final orders and judgment in this
 proceeding?1

         7. Any other matters not covered above.

        8. Whether the parties [ ] do [ ] do not request a conference with the Court prior to entry
of the scheduling order. Any such conference may be [ ] by telephone [ ] in chambers or
[ ] in Court.

       9. Failure to timely file the required written report shall mean that this proceeding shall
be governed by Bankruptcy Local Rule 7016-1(b)(2), including that discovery must be completed
within ninety (90) days from the later of the appearance of the first defendant by answer or
motion.

          Parties are also advised to consult the Adversary Proceedings Tab on Judge Baisier’s
page on the Court’s web site for important information.

           The Clerk is directed to serve a copy of this Order and Notice upon counsel for the
Plaintiff, counsel for the Defendant, and the United States Trustee.


                                                [END OF ORDER]




1
  If no Report is filed or if this question is not answered in the Report, one or more of the parties must file a separate,
written statement indicating any objection to this Court entering final orders or judgment in this matter if any of the
parties do, in fact, have such an objection. The failure to raise such an objection could result in this Court concluding
that the parties have knowingly and voluntarily consented to this Court entering final orders and judgment in this
proceeding.




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